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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         NEWNAN DIVISION

ASHLEE SUTTLE, and                     )
CHELSEA TURNER,                        )
                                       )
      Plaintiffs,                      )
                                       )      Civil Action File
vs.                                    )      No. 3:20-CV-00158-TCB
                                       )
LA SALSA MEX INC.,                     )
                                       )
      Defendant.                       )

               JOINT MOTION TO APPROVE SETTLEMENT

      COME NOW Plaintiffs Ashlee Suttle and Chelsea Turner (“Plaintiffs”), and

Defendant La Salsa Mex Inc., (“Defendant” or La Salsa”), and jointly file this

request that the Court approve the Settlement Agreement in which they have

entered (the “Settlement Agreement”) as to the Plaintiffs’ release of claims under

the Fair Labor Standards Act (“FLSA”). In support of this Motion, the Parties

jointly state as follows:

                                   Background

      Plaintiffs allege that they were employed by Defendant, La Salsa Mex Inc.

from approximately June 2018 through July and August of 2019, respectively. See,

Exhibit 2, Declaration of Brittany A. Barto, at ¶ 2.
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          Plaintiffs allege that Defendant did not properly pay them for all hours

worked. Plaintiffs further allege that Defendant required them to perform tasks that

were unrelated to and not incidental to their tip-producing occupations without being

paid a minimum wage. Id. at ¶ 3.

          Defendant contends that it has paid Plaintiffs all amounts owed to them in

wages. Id. at ¶ 4.

          Without admitting any wrongdoing, Defendant desires to resolve all claims,

complaints, and causes of action between itself and Plaintiffs that Plaintiffs now, or

in the future, may allege to have against Defendant. Id. at ¶ 5.

          On August 26, 2020, Plaintiffs filed this lawsuit against Defendant alleging

violations of the Fair Labor Standards Act (“FLSA”) for unpaid wages. (Doc. 1). Id.

at ¶ 6.

          Plaintiffs provided pay stubs for some of the relevant period for Plaintiffs’

counsel to examine. After analyzing these pay stubs and Plaintiffs’ own recollection,

Plaintiffs’ counsel determined alleged wage damages taking into account the hours

actually worked, the rate of pay, and the length of employment over the relevant

period. Id. at ¶ 7. Defendant contends there are no wage damages.

                                          Settlement

          Counsel for Plaintiffs and Defendant reached a settlement through arm’s


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length negotiations relating to the merits of the claims and defenses, which included

discussions of the tip-credit rate of pay and FLSA non-willfulness. Plaintiffs and

Defendant, and their respective attorneys, have discussed and considered the facts,

have carefully calculated actual and potential damages and liability, have judiciously

allocated same as set forth in the Settlement Agreement, and find the Settlement

Agreement to be fair and reasonable. Id. at ¶ 8.

       In exchange for a release of all Plaintiffs’ claims, the Parties were able to reach

a reasonable settlement for a compromised amount of fourteen thousand dollars

($14,000.00).     This amount represents three thousand four hundred dollars

($3,400.00) in wages and liquidated damages to Plaintiff Chelsea Turner (“Plaintiff

Turner”), three thousand six hundred dollars ($3,600.00) to Plaintiff Ashlee Suttle

(“Plaintiff Suttle”), and seven thousand dollars ($7,000.00) in Plaintiffs’ attorneys’

fees and costs. Id. at ¶ 9.

       The back-wage damages ($1,700.00 for Plaintiff Turner and $1,800.00 for

Plaintiff Suttle) are subject to federal tax withholdings. Id. at ¶ 10.

       Plaintiffs agreed to this compromised settlement in order to ensure timely

payments due under the Settlement Agreement. This amount represents Plaintiffs’

full calculation for back wages, as well as a reduced amount for Plaintiffs’ attorneys’

fees and costs. Id. at ¶ 11.


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      The $3,400.00 payment to Plaintiff Turner is approximately 169% of the

amount of Plaintiffs’ counsel’s calculation of alleged unpaid wage damages of

$2,015.50. The $3,400 payment to Plaintiff Turner is approximately 84% of the

amount of Plaintiffs’ counsel’s calculation of alleged back-wage and liquidated

damages of $4,031.00. Defendant disputes Plaintiffs’ counsel’s calculation of

alleged damages, as well as liability for any damages in this case. Id. at ¶ 12.

      The $3,600.00 payment to Plaintiff Suttle is approximately 170% of the

amount of Plaintiffs’ counsel’s calculation of alleged unpaid wage damages of

$2,117.00. The $3,600 payment to Plaintiff Suttle is approximately 85% of the

amount of Plaintiffs’ counsel’s calculation of alleged back-wage and liquidated

damages of $4,234.00. Defendant disputes Plaintiffs’ counsel’s calculation of

alleged damages, as well as liability for any damages in this case. Id. at ¶ 13.

      The attorneys’ fees to Plaintiffs’ counsel, Hall & Lampros, LLP, is based on

a reasonable lodestar value of hours worked of $6,785.00 that Plaintiffs’ counsel has

reduced to $6,420.00. As a further reduction, Plaintiffs’ counsel did not include any

time for drafting and preparing post-settlement documents, nor any time from

partner Christopher Hall when calculating Plaintiffs’ counsel’s lodestar. Plaintiffs’

counsel incurred reasonable costs of $580.00 (for the filing fee and service of

process). See, Exhibit A to Barto Declaration- Fee Summary. The Declaration of


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Brittany A. Barto (Exhibit 2) further outlines Plaintiffs’ attorneys’ fees, billing rates,

and attorney experience.

      As set forth in the proposed Settlement Agreement, attached as Exhibit 1 to

this Motion, the payments will resolve all of the claims set forth in this lawsuit as

well as any other claims Plaintiffs may have against Defendant through the date

Plaintiffs execute the Settlement Agreement. Id. at ¶ 16.

      Pursuant to the FLSA, claims for back wages and other damages arising

under the FLSA may be settled or compromised with the approval of the district

court. See 29 U.S.C. § 216 (b); Lynn’s Food Stores, Inc. v. U.S., 679 F.2d 1350,

1354 (11th Cir. 1982); see also Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697 (1945).

      The Parties therefore file this Joint Motion and request that this Court

approve the Parties’ settlement. To do so, the Court must determine that the

compromise is a fair and reasonable resolution of a bona fide dispute over FLSA

provisions. See Lynn’s Food Stores, Inc., 679 F.2d at 1353, 1355.

      The Parties expressly agree that the Settlement Agreement between the

Parties represents a fair and equitable resolution of this matter. Based on these

potential damages, defenses, and the risks involved for all Parties; all Parties, after

consultation with their experienced counsel, believe that the proposed Settlement

Agreement is fair and in each Party’s best interest. See, Exhibit 2, Declaration of


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Brittany A. Barto, at ¶¶ 17-18.

      The Agreement is not the subject of fraud or collusion, but rather a genuine

effort to avoid more time and resources than the Parties agree is prudent to resolve

the issues.

      The Parties acknowledge that, as is the case with any wage and hour dispute,

any trial of this matter is likely to be lengthy and document intensive. As such, all

Parties would be subjected to considerable expense in determining whether the

Parties’ respective assertions are correct and given the amount of potential recovery

in this matter, such costs will likely exceed the amount of potential recovery. The

Parties therefore believe that such expense is not worth the continued litigation of

this case.

      Plaintiffs’ counsel calculated damages, as well as liability for any damages

in this case. As such, bona fide disputes as to the merits of the claims exist; and

thus, Plaintiffs are not assured of success on their claims.

      The undersigned counsel for the Parties agree that continuing to litigate this

matter would not be an efficient use of the Court’s time and resources, and would

not be beneficial to the Parties.

      Accordingly, the Parties jointly and respectfully request that the Court

approve the Settlement Agreement attached hereto as Exhibit 1.


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      A proposed consent order has been attached hereto as Exhibit 3.

Respectfully submitted this November 16, 2020,


/s/ Brittany A. Barto                      /s/ Jeffrey A. Daxe
Gordon Van Remmen                          Jeffrey A. Daxe
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                        CERTIFICATE OF SERVICE

      I hereby certify that on November 16, 2020, I filed the foregoing Joint Motion

to Approve Settlement with the ECF filing system, which served the following

attorneys:

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                                                   /s/ Brittany A. Barto
                                                   Brittany A. Barto




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